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UNITED STATES OF AMERICA §
§
v. § Criminal No. 3:()8-CR-152-N
§ (Supersedes indictment
LAKENDRA IRENE AVERY (12) § returned May 21, 2008)
a.k.a. “Kendra” § `
INFORMATION

The United States Attorney Charges:
Count One
Unlawful Use of a Communication Facility
(Violation of 21 U.S.C. §843(b))

On or about the January 25, 2008, in the Dallas Division of the Northern District of
Texas, Lakendra Irene Avery a.k.a. “Kendra”, the defendant, did knowingly and
intentionally use a communication facility, to-Wit: a cellular telephone, in facilitating the
commission of an act or acts constituting a felony under 21 U.S.C. §§ 841(a)(l),

841(b)(l)(C).

All in violation of 21 U.S.C. § 843(b).

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